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 2                                                     The Honorable Thomas S. Zilly
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   PACIFIC BELLS, LLC; BRUNSWIKST,             NO. 21-cv-01515-TSZ
     LLC; and WOW DISTRIBUTING, INC.,
10   in their own and on behalf of similarly
     situated employers,                         DEFENDANTS’
11                                               SUPPLEMENTAL BRIEF
            and
12
     MELISSA JOHNSTON; LENA
13   MADDEN; JUDI CHAPMAN;
     KATHERINE SOLAN; JOHN
14   EDMUNDSON; and MIKE LINDBO,
     individuals on their own behalf and on
15   behalf of similarly situated employees,
16                           Class Plaintiffs,
17          v.
18   JAY INSLEE, in his capacity as Governor
     of the State of Washington; CAMI FEEK,
19   in her capacity as the Commissioner and
     Chief Executive Officer of the Washington
20   Employment Security Department;
     DONALD CLINTSMAN, in his capacity
21   as the Acting Secretary of the Washington
     Department of Social and Health Services;
22   and THE LONG-TERM SERVICES AND
     SUPPORTS TRUST FUND, an employee
23   benefit plan,
24                             Defendants.
25

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        DEFENDANTS’ SUPPLEMENTAL                            ATTORNEY GENERAL OF WASHINGTON
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     A.      The Plaintiffs Have the Burden to Establish this Court has Jurisdiction, Including
 2           any Facts Necessary to Show that the Tax Injunction Act Does Not Bar Jurisdiction

 3           The Court should “presume that federal courts lack jurisdiction ‘unless’ the contrary

 4   appears affirmatively from the record.” Renne v. Geary, 501 U.S. 312, 316 (1991) (quoting

 5   Bender v. Williamsport Area School Dist., 475 U.S. 534, 546 (1986)) (cleaned up); see also

 6   Warth v. Seldin, 422 U.S. 490, 518 (1975). And it is the plaintiff who bears the burden to show

 7   the Tax Injunction Act does not bar jurisdiction. See Franchise Tax Bd. of Cal. v. Alcan

 8   Aluminium Ltd., 493 U.S. 331, 341 (1990) (holding plaintiff bore burden to prove there was no

 9   “plain, speedy, and efficient remedy” under the Tax Injunction Act); see also Chase Manhattan

10   Bank, N.A. v. City and County of San Francisco, 121 F.3d 557, 559 (9th Cir. 1997) (same).

11   Therefore, it is the plaintiff’s burden to show that the Tax Injunction Act does not apply. In this

12   case, that includes establishing the number of people that will pay premiums under the WA Cares

13   program to the extent that fact is relevant to the inquiry.

14   B.      Washington Workers Subject To, Exempt From, And Opted-In to WA Cares

15   Population paying premiums: Approximately 3,410,911 Washington workers employed by an

16   employer will be required to pay premiums in 2023. Declaration of April Amundson

17   (Amundson Decl.) ¶ 11. This is about 83 percent of the total estimated employee population.

18   See id. at ¶ 3 (4,091,072 employees estimated to work in Washington State in 2023).

19   Opt-outs: The Washington State Employment Security Department (ESD) has received and

20   approved 473,510 applications to opt out of WA Cares by individuals who had purchased a

21   private long-term care insurance policy by November 2021. Id. at ¶ 2.

22   New exemptions: ESD estimates that 206,651 Washington workers will be exempt from WA

23   Cares under the new exemptions enacted by the Washington State Legislature in 2022. Id. at ¶ 9.

24   Opt-ins: ESD estimates that in 2023, 233,191 people will be self-employed in Washington State.

25   Of these, ESD estimates that as many as 40,000 of them will opt-in to WA Cares, but this is

26   mostly likely a high estimate. Id. at ¶ 10. Self-employed, opt-in participants are, therefore,


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 1   estimated to be at most about one percent of the total WA Cares participant population.
 2   C.      Melissa Johnston Lacks Standing And Should be Dismissed

 3           “Melissa Johnston resides in Eagle Point, Oregon.” Dkt. 1 at p. 4:7. Any “employee who
 4   is employed by an employer in Washington, but maintains a permanent address outside of
 5   Washington as the employee’s primary location of residence” is exempt from payment of WA
 6   Cares premiums. 2022 Wash. Sess. Laws, ch. 2 § 2. Ms. Johnston is not injured by the WA Cares
 7   premiums that she challenges, she lacks standing, and should be dismissed as a plaintiff. See
 8   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).
 9   D.      WA Cares Does Not Meet the Definition of an Employee Benefit Plan

10           A “threshold requirement” for ERISA coverage is that a plan must be “established or
11   maintained by an employer.” Howard Jarvis Taxpayers Assn. v. California Secure Choice Ret.
12   Sav. Program, 997 F.3d 848, 859 (9th Cir. 2021), cert. denied, 142 S. Ct. 1204 (2022); see also
13   29 U.S.C. §§ 1002(1)-(3), 1003(a). Because of this requirement, the Ninth Circuit rejected an
14   ERISA preemption challenge to a similar state-enacted benefit program in California, known as
15   CalSavers. As the court explained, “the ERISA-required ‘employer’ that supposedly ‘established
16   or maintained’” CalSavers “could only be one of two entities”: the state or the private companies
17   whose employees receive benefits. Howard Jarvis, 997 F.3d at 859. The Ninth Circuit held that
18   California was not the “employer” of every worker statewide. And while the companies were
19   “employers,” they did not “establish or maintain” the state-enacted benefit program. As detailed
20   below, the same conclusions follow here.
21           1.       Washington State Is Not the “Employer”1

22           As Howard Jarvis explained, it “seems quite clear that although California ‘established
23   or maintained’ CalSavers, it did not do so in the capacity of an ‘employer.’” 997 F.3d at 859.
24   1
       The State does not qualify as an “employee organization,” which means an organization “in which employees
25   participate and which exists for the purpose … of dealing with employers concerning an employee benefit plan.”
     29 U.S.C. § 1002(4); see also Greenwood v. Hartford Life Ins. Co., 471 F.Supp.2d 1049, 1052 (C.D. Cal. 2007)
     (“‘[E]mployee organization’ for the purposes of ERISA and under the plain meaning of section 1002(4) is to cover
26   labor unions and other traditional organizations established by employees of a particular employer.”).


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 1   ERISA defines “employer” to mean “any person acting directly as an employer, or indirectly in
 2   the interest of an employer.” 29 U.S.C. § 1002(5). The court easily concluded that California
 3   “does not employ” the CalSavers participants, who are employed by private businesses.
 4   997 F.3d at 860. Likewise, Washington is not the direct “employer” of the employees covered
 5   by WA Cares, who work for various businesses throughout Washington.2
 6           Similarly, as the court concluded in Howard Jarvis, the State is not “acting ‘indirectly in
 7   the interest of an employer’” because it does not “represent employers in any relevant sense.”
 8   Id. The State is not an agent implementing a benefit promise “on behalf of” employers”; on the
 9   contrary, it has “step[ped] in where the State regards eligible [] employers as having failed to
10   provide their workers with desirable” benefits. Id. (emphasis added). “[E]mployers have no say
11   over how [the program] is operated; they did not create it, nor do they control it.” Id. The State
12   makes these decisions on its own accord. Accord Golden Gate Rest. Ass’n v. City and County of
13   San Francisco, 546 F.3d 639, 654 (9th Cir. 2008) (“When the City administers the [City-
14   sponsored health program], it does not act as the employer’s agent entrusted to fulfill the benefits
15   promises the employer made to its employees”).
16           2.       Private Employers Do Not “Establish or Maintain” a Benefit Plan

17           “The ‘established or maintained’ requirement … ‘appears designed to ensure that the
18   plan is part of an employment relationship.’” Howard Jarvis, 997 F.3d at 859-60 (citation
19   omitted); accord Peckham v. Gem State Mut. of Utah, 964 F.2d 1043, 1049 (10th Cir. 1992).
20   This is determined by “looking at the degree of participation by the employer.” Peckham,
21   964 F.2d at 1049. Employers’ “ministerial obligations” under WA Cares “do not resemble the
22   establishment or maintenance of an ERISA plan.” Howard Jarvis, 997 F.3d at 866.
23           “[T]he ‘establishment’ of an ERISA plan requires both a ‘decision to extend benefits’
24   and some ‘[a]cts or events that record, exemplify or implement the decision,’ such as ‘financing
25   2
      To the extent WA Cares is also available to employees of the State, a program covering governmental
     employees cannot be an ERISA plan because plans “established or maintained” by state governments for their
26   employees are expressly exempted from ERISA’s coverage. See 29 U.S.C. §§ 1002(32), 1003(b)(1).


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 1   or arranging to finance or fund the intended benefits” or “establishing a procedure for disbursing
 2   benefits.’” Howard Jarvis, 997 F.3d at 860 (citation omitted). Washington employers do not
 3   satisfy either requirement. Employers did not make the decision to extend benefits; the State did.
 4   See Cent. Laborers’ Pension Fund v. Heinz, 541 U.S. 739, 743 (2003) (recognizing the
 5   “centrality of ERISA’s object of protecting employees’ justified expectations of receiving the
 6   benefits their employers promise them.”) (emphasis added). Nor do employers fund the benefits
 7   or establish the procedures for disbursing benefits: employees pay premiums pursuant to a system
 8   established by the State, e.g., Wash. Rev. Code § 50B.04.080, and the State established the
 9   framework and procedures for providing benefits, e.g., id. §§ 50B.04.020, 50B.04.060,
10   50B.04.070.
11          Employers also do not “maintain” WA Cares. To “maintain” a plan means to “care[] for
12   the plan for purposes of operational productivity.” Howard Jarvis, 997 F.3d at 861 (citations
13   omitted). Plaintiffs complain that WA Cares requires employers to “determine” which wages
14   and employees are subject to the Act (dkt. 1at p. 10:16) but the definition of “employee” and
15   “wages” is consistent with other aspects of Washington law and based on objective, non-
16   discretionary criteria. See Wash. Rev. Code § 50B.04.010(7), (17). The Ninth Circuit has
17   squarely rejected the notion that such limited, non-discretionary responsibilities rise to the level
18   of “maintaining” an ERISA plan. In concluding that a city-operated health program was not
19   “maintained” by employers, the Ninth Circuit held that any “burden” on employers “entailed in
20   keeping track of which workers perform qualifying work” was “not enough” to convert the
21   program into an ERISA plan. Golden Gate, 546 F.3d at 650.
22          Employers also must withhold premiums from employee paychecks and remit them to
23   the State on a quarterly basis. Wash. Rev. Code § 50B.04.080; Wash. Admin. Code
24   § 192-910-010. But Courts routinely hold that withholding earnings and forwarding payments
25   to another entity does not constitute the “establishment” or “maintenance” of a plan. See, e.g.,
26   Reliance Ins. Co. v. Ziegler, 938 F.2d 781, 784 (7th Cir. 1991); Graham v. Hartford Life & Acc.


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 1   Ins. Co., 589 F.3d 1345, 1354 (10th Cir. 2009). Thus, the Ninth Circuit concluded that employers
 2   did not “maintain” the CalSavers program where they performed “essentially mechanical” acts,
 3   such as “evaluating employee eligibility according to non-discretionary criteria; providing the
 4   State with employee identification and contact information; and processing specified payroll
 5   deductions according to set formulae.” Howard Jarvis, 997 F.3d at 862.
 6            “[I]n the context of a government-sponsored benefit in which an employer has mandatory
 7   back-end responsibilities, ‘an employer’s administrative duties must involve the application of
 8   more than a modicum of discretion’” to “establish or maintain” an ERISA plan. Id. at 861
 9   (quoting Golden Gate, 546 F.3d at 650). This is because “[i]t is within the exercise of …
10   discretion that an employer has the opportunity to engage in the mismanagement of funds and
11   other abuses with which Congress was concerned when it enacted ERISA.” Golden Gate,
12   546 F.3d at 650. Where, as here, employers do not have discretion over funds or the eligibility
13   for benefits, the concerns underlying ERISA are not implicated. Id.; accord Howard Jarvis,
14   997 F.3d at 861.
15            In Howard Jarvis, the Ninth Circuit ultimately concluded that “it is the State that has
16   established CalSavers and the State that maintains it—and not eligible employers”:
17
              California created CalSavers. California determines the eligibility for both
18            employers and employees. California enrolls eligible employees…. California acts
              as the sole fiduciary over the trust and program, with the Board making all
19            investment decisions …. And California is ‘free to change the kind and level of
              benefits as it sees fit.’ All of this confirms that “the [State], rather than the
20            employer, establishes and maintains” CalSavers.

21   Id. at 862 (citation omitted). Similarly, Washington—and not any private employers—
22   “established” and “maintains” WA Cares. And because Washington is not the employer, WA
23   Cares is not an ERISA plan. 29 U.S.C. §§1002(1)-(3), 1003(a).3
24   3
       Plaintiffs are also incorrect that a voluntary opt-out matters to the ERISA analysis. Dkt. 1 at p. 11:15. They cite
25   Howard Jarvis, but the ability of employees to opt out was not part of the court’s analysis. Plaintiffs also cite a DOL
     safe harbor for individual retirement accounts, id. (citing 29 C.F.R. § 2510.3-2(d)). Even if that safe harbor applied
     to the long-term care benefits at issue here, which it does not, Howard Jarvis recognized that failing a safe harbor
26   just means a program is “subject to further evaluation under the conventional tests.” 997 F.3d at 857.


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 1       DATED this 31st day of March, 2022.
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 1                                    CERTIFICATE OF SERVICE
 2           I certify that on the date indicated below, I caused the foregoing document to be
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     electronically filed with the Clerk of the Court using the CM/ECF system which will send
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             I certify under the penalty of perjury under the laws of the state of Washington that the
 8

 9   foregoing is true and correct.

10           EXECUTED this 18th day of March, 2022, at Olympia, Washington.
11
                                                   s/ William McGinty
12                                                 WILLIAM MCGINTY
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